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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 17-283V
                                   Filed: December 15, 2017
                                        UNPUBLISHED


    MARLA KRAMER,

                        Petitioner,                          Special Processing Unit (SPU);
    v.                                                       Damages Decision Based on Proffer;
                                                             Influenza (Flu) Vaccine; Hepatitis A
    SECRETARY OF HEALTH AND                                  (Hep A) Vaccine; Shoulder Injury
    HUMAN SERVICES,                                          Related to Vaccine Administration
                                                             (SIRVA)
                       Respondent.


Amy A. Senerth, Muller Brazil, LLP, Dresher, PA, for petitioner.
Mallori Browne Openchowski, U.S. Department of Justice, Washington, DC, for
       respondent.

                               DECISION AWARDING DAMAGES1

Dorsey, Chief Special Master:

        On February 28, 2017, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that she suffered right shoulder injuries and neuralgia
of the right upper extremity caused by the influenza (“flu”) and Hepatitis A (“Hep A”)
vaccinations she received on February 2, 2016. Petition at 1, ¶¶ 2, 14. The case was
assigned to the Special Processing Unit of the Office of Special Masters.

        On October 27, 2017, a ruling on entitlement was issued, finding petitioner
entitled to compensation for her shoulder injuries. (ECF No. 25). On December 15,
2017, respondent filed a proffer on award of compensation (“Proffer”) indicating
petitioner should be awarded $97,108.38. Proffer at 1 (ECF No. 28). In the Proffer,
respondent represented that petitioner agrees with the proffered award. Id. Based on
1
  Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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the record as a whole, the undersigned finds that petitioner is entitled to an award as
stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $97,108.38 in the form of a check payable to
petitioner, Marla Kramer. This amount represents compensation for all damages that
would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                      2
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                  IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                            OFFICE OF SPECIAL MASTERS


    MARLA KRAMER,                 )
                                  )
              Petitioner,         )
    v.                            )                    No. 17-283V
                                  )                    Chief Special Master Dorsey
    SECRETARY OF HEALTH AND HUMAN )                    ECF
    SERVICES,                     )
                                  )
              Respondent.         )
                                  )

               RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I.        Compensation for Vaccine Injury-Related Items

          On October 27, 2017, Chief Special Master Dorsey issued a Ruling on Entitlement

finding that petitioner was entitled to vaccine compensation for her Shoulder Injury Related to

Vaccine Administration (“SIRVA”). Based on the evidence of record, respondent proffers that

petitioner should be awarded $97,108.38. This amount represents all elements of compensation

to which petitioner would be entitled under 42 U.S.C. § 300aa-15(a). 1 Petitioner agrees.

II.       Form of the Award

          The parties recommend that compensation provided to petitioner should be made through

a lump sum payment of $97,108.38, in the form of a check payable to petitioner. Petitioner

agrees.

          Petitioner is a competent adult. Evidence of guardianship is not required in this case.




1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
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                                        Respectfully submitted,

                                        CHAD A. READLER
                                        Acting Assistant Attorney General

                                        C. SALVATORE D’ALESSIO
                                        Acting Director
                                        Torts Branch, Civil Division

                                        CATHARINE E. REEVES
                                        Deputy Director
                                        Torts Branch, Civil Division

                                        ALEXIS B. BABCOCK
                                        Assistant Director
                                        Torts Branch, Civil Division

                                        s/ Mallori B. Openchowski
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DATED: December 15, 2017
